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7
8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA        )
                                     ) CR. NO. S-99-433-WBS
12                  Plaintiff,       )
               v.                    )
13                                   ) STIPULATION AND ORDER
                                     )
14   SON VAN NGUYEN, et al.,         )
                                     ) DATE: June 21, 2006
15                  Defendant.       ) TIME: 10:00 a.m.
     _______________________________ ) CTRM: Honorable William B. Shubb
16
17        The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and William S. Wong and Jason Hitt, Assistant United
20   States Attorneys; defendant Son Van Nguyen, through his counsel,
21   James R. Greiner, Esq.; defendant Thongsouk Lattanaphon, through his
22   counsel, Jeffrey Staniels, Assistant Federal Defender; and defendant
23   Hoang Ai Le, through his counsel, Michael Long, Esq.; stipulate and
24   agree to the following revised motion schedule and exclusion of time
25   under the Speedy Trial Act:
26        1.   Government’s response to defendants’ motions to be
               filed on November 22, 2006;
27
          2.   Defendants’ reply, if any, to be filed by December 6,
28             2006; and

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1         3.   Hearing on the motions December 13, 2006, at 10:00 a.m.
2         In light of pending jury trials and heavy caseloads, counsels
3    for the government needs additional time to research and prepare its
4    responses to the defendants’ motions.      Accordingly, the parties
5    stipulate that time be excluded for the pendency of these motions
6    pursuant to 18 U.S.C. § 3161(h)(1)(F) - delay resulting from any
7    pretrial motion and 18 U.S.C. § 3161(h)(8)(B)(ii) - additional time
8    to adequately prepare for pretrial proceedings.
9                                     Respectfully submitted,
10                                    McGREGOR W. SCOTT
                                      United States Attorney
11
12   DATED: June 20, 2006         By: /s/ William S. Wong
                                      WILLIAM S. WONG
13                                    Assistant U.S. Attorney
14   DATED: June 20, 2006         By: /s/ William S. Wong authorized by
                                      JAMES R. GREINER for defendant
15                                    Son Van Nguyen
16   DATED: June 20, 2006         By: /s/ William S. Wong authorized by
                                      JEFFREY STANIELS, AFD, for
17                                    defendant Thongsouk Lattanaphon
18   DATED: June 20, 2006         By: /s/ William S. Wong authorized by
                                      MICHAEL LONG for defendant
19                                    Hoang Ai Le
20   __________________________________________________
21                                     ORDER
22        For the reasons set forth above, the revised law and motion
23   schedule set forth above is adopted.      This Order does not affect
24   defendant John That Luong’s renewed motion for severance and
25   separate trial on counts one through three or defendant John That
26   Luong’s motion to dismiss counts one through nine of the indictment
27   for failure to allege the elements of the offenses charged, which
28   motions will be heard on June 20, 2006 as scheduled.         The court

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1    finds excludable time to December 13, 2006 for the reasons set forth
2    above.
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4    DATED:   June 20, 2006
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